                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

In re:                                               §
                                                     §
ORLY GENGER                                          §         Case No. 19-10926-TMD
    (Debtor)                                         §          (Chapter 7)


                 GLOBAL NOTES, METHODOLOGY AND SPECIFIC
             DISCLOSURES REGARDING THE DEBTOR SCHEDULES OF
         ASSETS AND LIABILITIES AND STATEMENT OF FINANCIAL AFFAIRS

                                             Introduction

        On July 12, 2019 (the “Petition Date'), Orly Genger (“Debtor”) filed a voluntary
petition for relief under Chapter 7 of Title 11 of the United States Code (the “Bankruptcy Code").

        Pursuant to the requirements of Bankruptcy Code Section 521 and Rule 1007 of the
Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules"), the Debtor, with the
assistance of her counsel and accountants, has filed her Schedules of Assets and Liabilities (the
“Schedules”) and a Statement of Financial Affairs (the “Statement”) with the United States
Bankruptcy Court for the Western District of Texas (the “Bankruptcy Court").

       In reviewing and signing the Schedules and Statement, Debtor has relied upon the
information in books and records as well as information obtained from third parties.

        These Global Notes, Methodology and Specific Disclosures Regarding the Debtors’
Schedules of Assets and Liabilities and Statements of Financial Affairs (the “Global Notes")
pertain to, are incorporated by reference in, and comprise an integral part of each of the Debtor’s
Schedules and Statement. The Global Notes should be referred to and reviewed in connection
with any review of the Schedules and Statement.

        The Schedules and Statement do not purport to represent financial statements prepared
in accordance with Generally Accepted Accounting Principles in the United States fGAAF'),
nor are they intended to be fully reconciled with the financial statements of the Debtor.
Additionally, the Schedules and Statement contain unaudited information that is subject to
further review and potential adjustment, and reflect the Debtor’s best and good faith efforts to
report the assets and liabilities fully and accurately. Certain of the assets are difficult or impossible
to value in their current condition or configuration and are listed as “unknown” because the
valuation of such assets is speculative or subject to widely divergent valuation methodologies. In
certain instances, the inability to opine as to value results (as noted) in a $0 value for the purpose
of the assets summaries. While Debtor does not believe that all such assets have $0 value, the listing
of a specific dollar amount would be misleading under the circumstances. Debtor will, as more




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valuation information becomes available, amend the Schedules and Statement of Affairs to reflect
more likely values.

        In preparing the Schedules and Statement, the Debtor has relied upon financial data derived
from books and records that were available at the time of such preparation and information that
was provided by third parties. Although the Debtor has made reasonable efforts to ensure the
accuracy and completeness of such financial information, inadvertent errors or omissions, as well
as the discovery of conflicting, revised or subsequent information, may cause a material change
to the Schedules and Statement. Thus, the Debtor is unable to warrant or represent the Schedules
and Statement are without inadvertent errors, omissions or inaccuracies. Accordingly, the Debtor
reserves all of her rights to amend, supplement or otherwise modify the Schedules and Statement
as is necessary and appropriate. Notwithstanding the foregoing, the Debtor shall not be
required to update, amend or supplement the Schedules and Statement, but reserves the right to
do so.

                                Global Notes and Overview of Methodology

Reservation of Rights. Nothing contained in the Schedules and Statement shall constitute a
waiver of the Debtor’s rights or an admission with respect to her chapter 7 bankruptcy case.

Net Book Value of Assets. It would be prohibitively expensive and unduly burdensome and
to obtain current market valuations for all of the assets. In some instances, such a valuation would
be impossible. Accordingly, unless otherwise indicated, the Debtor’s Schedules and Statement
reflect the Debtor’s best analysis of market value at the time of filing.

Recharacteri/ation. Notwithstanding the Debtor’s commercially reasonable best efforts to
properly characterize, classify, categorize or designate certain claims, assets and other items
reported in the Schedules and Statement, the Debtor may nevertheless have improperly
characterized, classified, categorized, designated or omitted certain items. Accordingly, the
Debtor reserves all of her rights to recharacterize, reclassify, recategorize, redesignate, add or
delete items reported in the Schedules and Statement at a later time as is necessary and
appropriate, as additional information becomes available.

Glassifications. Listing a claim on (a) Schedule D as “secured,” or (b) Schedule E/F as
“unsecured” or” does not constitute an admission by the Debtor of the legal rights of the claimant
or a waiver of the Debtor’s right to recharacterize or reclassify such claims or to setoff of such
claims.

Claims Description. Schedules D and E/F permit the Debtor to designate a claim as “disputed,”
“contingent” and/or “unliquidated.” Any failure to designate a claim on a given Debtor’s
Schedules as “disputed,” “contingent” or “unliquidated” does not constitute an admission by
the Debtor that such amount is not “disputed,” “contingent” or “unliquidated,” or that such claim
is not subject to objection. The Debtor reserves all of her rights to dispute, or assert offsets or
defenses to, any claim reflected on their respective Schedules and Statement on any grounds,
including liability or classification. Additionally, the Debtor expressly reserves all of her rights
to subsequently designate such claims as “disputed,” “contingent” or “unliquidated.” Moreover,



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listing a claim does not constitute an admission of liability by the Debtor. Third parties have
asserted, in various litigation, that Debtor may have claims that the Debtor does not believe exist.
To the extent known, such alleged claims have been listed and have been designated in such a
manner to disclose, for notice purposes, the alleged claims but do not constitute an admission that
such claim(s) exist. Due to the complexity and magnitude of pre-petition litigation, additional
claims may exist that Debtor is not currently aware of, and Debtor reserves the right to further list
such claims and to dispute the existence of claims that third parties assert.

Causes of Action. Despite considerable and reasonable efforts, and due to the complexity
and magnitude of pre-petition litigation, the Debtor may not have identified and/or set forth all
of her (filed or potential) causes of action against third parties as assets in her Schedules
and Statement. The Debtor reserves all of her rights with respect to any causes of action against
third parties and nothing in the Global Notes or the Schedules and Statement shall be deemed a
waiver of any such causes of action which are expressly reserved.

Summary of Significant Reporting Policies. The following is a summary of significant reporting
policies:

                   a.           Undetermined Amounts. The description of an amount
                                as “unknown,” “TBD” or “undetermined” is not
                                intended to reflect upon the materiality of such amount.

                   b.           Totals. All totals that are included in the Schedules and
                                Statement represent totals of all known amounts. To the
                                extent there are unknown or undetermined amounts,
                                the actual total may be different than the listed total.
                                Additionally, the existence of values determined to be
                                “unknown” at this time may reflect asset values as $0, even
                                though such assets may have value.



Global Notes Control. In the event that the Schedules and Statement differ from the foregoing
Global Notes, the Global Notes shall control.




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                       Specific Disclosures with Respect to the Debtors’ Schedules

Schedule I and J - Debtor and her spouse have a pre-marital agreement that has been confirmed by
a court of competent jurisdiction which negates any community property. Additionally, Debtor’s
obligations are not consumer obligations as defined in 11 U.S.C. § 101 (8), negating the application
of the “Means Test”. Schedules I and J request information on the Debtor’s non-filing spouse’s
financial assets and income. Such information is not available to the Debtor, and is, accordingly
not listed. Debtor’s spouse has paid all of Debtor’s regular living expenses from his separate
property for a period of time, and those amounts are scheduled both as liabilities and as “income”
to the Debtor for the purpose of these schedules.


Schedule A/B - Debtor owns an undivided interest in a condominium property with her non-filing
spouse which was granted by gift, but has no parking rights or other contractual rights with respect
to that property. To the extent that she is unable to value what an undivided interest would be in
such a property, it is scheduled as “Unknown” and shows as $0 in summary reflections of values.
Debtor is unable to value this interest due to the nature of it. The amount reflected for this property
as the “current value” is based upon the Travis County Appraisal District value for the entire
property, not Debtor’s undivided one half interest. Such value designation is also reflected in her
exemption elections in the same fashion.


Schedule A/B - Debtor has listed the value of her personal property items, such as household goods,
wearing apparel, electronics based upon the information that was available for such items by a
review of public information. In the absence of other market information, Debtor has estimated the
values at 10% of the purchase price where known.


Schedule A/B - Debtor has scheduled a number of claims that are contingent and unliquidated.
Additionally, Debtor has identified claims that third parties, in various litigation, may have
suggested that she owns (and which Debtor does not agree exist). Given the nature of the claims
and the length and magnitude of pre-petition litigation, Debtor cannot be certain all such claims
which third parties assert she may have the right to assert have been identified, and reserves the
right to amend or supplement these schedules to the extent that they are subsequently identified.
Debtor is currently unable to value these claims individually or collectively due to the inability to
estimate the cost of asserting them and the likely success or collectability of such claims, and as a
consequence, has listed the value collectively as “unknown”. Such claims may potentially also
offset claims asserted by various creditors, and Debtor has attempted to reflect such offset rights
in the Schedules as filed.




                                [Remainder ofpage intentionally left blank.]




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     Fill in this information to identify your case and this filing:
     Debtor 1             Orly____________________________ Genqer_____
                          First Name           Middle Name             Last Name

     Debtor 2            _________________________________________________________
     (Spouse, if filing) First Name          Middle Name          Last Name


     United States Bankruptcy Court for the:    WESTERN DISTRICT OF TEXAS

     Case number          19-10926___________________________________                                                      □   Check if this is an
     (if known)
                                                                                                                               amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                   12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


     Part 1:         Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest in

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
        □       No. Go to Part 2.
        0    Yes. Where is the property?


1.1.                                                   What is the property?                            Do not deduct secured claims or exemptions. Put the
                                                       Check all that apply.                            amount of any secured claims on Schedule D:
210 Lavaca St., Unit 1903, Austin, TX
                                                                                                        Creditors Who Have Claims Secured by Property.
78701                                                  □ Single-family home
                                                       □ Duplex or multi-unit building                  Current value of the           Current value of the
Condominium                                            0 Condominium or cooperative                     entire property?               portion you own?
1/2 undivided interest as separate                     □ Manufactured or mobile home                                 $2,466,974.00     ________ Unknown
property                                               □ Land
                                                       □ Investment property                            Describe the nature of your ownership
                                                       □ Timeshare                                      interest (such as fee simple, tenancy by the
Travis
                                                                                                        entireties, or a life estate), if known.
County                                                 0   Other   See description above
                                                       Who has an interest in the property?
                                                                                                        Homestead - Separate prop               ______
                                                       Check one.
                                                       0 Debtor 1 only                                  []] Check if this is community property
                                                       □ Debtor 2 only                                       (see instructions)
                                                       □ Debtor 1 and Debtor 2 only
                                                       □ At least one of the debtors and another

                                                       Other information you wish to add about this item, such as local
                                                       property identification number:  _______ __________________

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any                                                 $0.00*
       entries for pages you have attached for Part 1. Write that number here.....................................



       ‘Valuation shows as $0 because value is unknown.




Official Form 106A/B                                                Schedule A/B: Property                                                               page 1
Debtor 1         Orly Genger                                                                       Case number (if known)   19-10926


     Part 2:      Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

       0   No
       □ Yes

4.     Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       0 No
       □ Yes

5.     Add the dollar value of the portion you own for all of your entries from Part 2, including any
       entries for pages you have attached for Part 2. Write that number here.....................................                              $0.00


     Part 3:      Describe Your Personal and Household Items
                                                                                                                                Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                portion you own?
                                                                                                                                Do not deduct secured
                                                                                                                                claims or exemptions.

6.     Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware
       □ No
       0 Yes. Describe           See attached Exhibit 1                                                                                    $2,075.00


7.     Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                     music collections; electronic devices including cell phones, cameras, media players, games

       □ No
       0 Yes. Describe           See attached Exhibit 2                                                                                      $795.00


8.     Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                     stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

       □ No
       0 Yes. Describe           Alfredo Jaar (Chilean born 1956). Searching for Gramsci, 2004. Inkjet print                               $1,000.00
                                 with silkscreen text on paper, 22 x 30 in (55.9 x 76.2 cm)

9.     Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
                     canoes and kayaks; carpentry tools; musical instruments

       0 No
       □ Yes. Describe


10.    Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment
       0   No                   ______________________________________________
       □ Yes. Describe.....


11.    Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
       □ No
       0 Yes. Describe          See attached Exhibit 3                                                                                    $8,134,00



Official Form 106A/B                                                Schedule A/B: Property                                                      page 2
Debtor 1           Orly Genger                                                                                                                      Case number (if known)                        19-10926


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
                         gold, silver

     □ N°
     0 Yes. Describe,                        See attached Exhibit 4                                                                                                                                                           $5,543.00


13. Non-farm animals
     Examples: Dogs, cats, birds, horses
     0 No                                  _____________
     □ Yes. Describe.....


14. Any other personal and household items you did not already list, including any health aids you
    did not list
     0 No




                                                                                                                                                                                                            Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                                            portion you own?
                                                                                                                                                                                                            Do not deduct secured
                                                                                                                                                                                                            claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
                        petition

     □ No
     ^ Yes........................................................................................................................................................... Cash: .............................   .............................$20.00

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
                        brokerage houses, and other similar institutions. If you have multiple accounts with the same
                        institution, list each.

     0     No
     |~| Yes................................                          Institution name:

18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts

     0     No
     [~| Yes................................         Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
     □ No
     0     Yes. Give specific
           information about
           them..............................        Name of entity:                                                                                                      % of ownership:

                                                     Everything Important LLC_________________________                                                                              48%                     _____ ______ $0.00
                                                     OGJM Inc., an S corporation_______________________                                                                             50%                     _____                    $0.00




Official Form 106A/B                                                                                Schedule A/B: Property                                                                                                            page 3
Debtor 1           Orly Genger                                                                             Case number (if known)     19-10926

20. Government and corporate bonds and other negotiable and non-negotiable instruments
      Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
      Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

      0 No
      □ Yes. Give specific
            information about
            them..............................    Issuer name:

21. Retirement or pension accounts
      Examples: Interests in IRA, ERISA, Keogh, 401 (k), 403(b), thrift savings accounts, or other pension or
                        profit-sharing plans

      □ No
      0 Yes. List each
        account separately.                      Type of account:       Institution name:

                                                 IRA:                   IRA - Morgan Stanley______________________________________ $8,282.00
22. Security deposits and prepayments
      Your share of all unused deposits you have made so that you may continue service or use from a company
      Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
      companies, or others

      □ No
      0 Yes................................                          Institution name or individual:

                             Other:                                  Retainer with Waller Lansden Dortch & Davis, LLP_______________$20,000.00
23.   Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
      0     No
      □ Yes................................       Issuer name and description:

24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
      26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

      0 No
      |~| Yes................................     Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521 (c)

25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
      powers exercisable for your benefit
      □ No
      0 Yes. Give specific                         See continuation page(s).                                                                            Unknown
            information about them

26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property;
      Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      0     No                                    __________________________________________________________________________________
      □ Yes. Give specific                                                                                        __
        information about them __________________________________________________________________________________

27.   Licenses, franchises, and other general intangibles
      Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      0     no                                    ___________________________________________________________________ :______________
      □ Yes. Give specific                                                                                                                  __
        information about them                                                                                             ___




Official Form 106A/B                                                          Schedule A/B: Property                                                       page 4
Debtor 1         Orly Genger                                                                         Case number (if known)     19-10926

Money or property owed to you?                                                                                                          Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.


28. Tax refunds owed to you

      □    No
           Yes. Give specific information                Federal: Overpayment of 2017 tax elected to                          Federal:____          $8,325.00
      0
           about them, including whether                 carryforward toward 2018 tax liability,. Amt: $8,325.00
                                                                                                                              State:    ___________ $2,109.00
           you already filed the returns
           and the tax years.........................    State: Overpayment of 2017 tax elected to carryforward               Local:    _______________   $0,00
                                                         toward 2018 tax liability for New York State. Amt:
                                                         $2,109.00

29.   Family support
      Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      0 No
      □ Yes. Give specific information                                                                           Alimony:              __________

                                                                                                                 Maintenance:          __________

                                                                                                                 Support:              __________

                                                                                                                 Divorce settlement:__________

                                                  ____________________________________________________________   Property settlement:      ______

30.   Other amounts someone owes you
      Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
                     compensation, Social Security benefits; unpaid loans you made to someone else

      0    No
      □ Yes. Give specific information


31. Interests in insurance policies
      Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
      □ No
           Yes. Name the insurance
           company of each policy
           and list its value..................    Company name:                                 Beneficiary:                     Surrender or refund value:

                                                                                       Orly Genger (Family
                                                    UHC (Health)___________________ __ Coverage)_____________________________ $0.00
32. Any interest in property that is due you from someone who has died
      If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
      entitled to receive property because someone has died

      0 No                                              ___________________________________________________________________________
      □ Yes. Give specific information                                                                                                 _____________________


33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
      Examples: Accidents, employment disputes, insurance claims, or rights to sue
      □ No
      0 Yes. Describe each claim                        See continuation page(s).                                                                   Unknown


34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
      rights to set off claims
      □ No
      0 Yes. Describe each claim                        See continuation pages                                                                      Unknown




Official Form 106A/B                                                      Schedule A/B: Property                                                          page 5
Debtor 1          Orly Genger                                                                                                 Case number (if known)                     19-10926


35.    Any financial assets you did not already list

       □ No                                                                                                                                                                               $344.77
       0 Yes. Give specific information                 See continuation page(s).

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here...........................................................................................
                                                                                                                                                                                       $39,080.77


                 Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

       gj No. Go to Part 6.
       f~l Yes. Go to line 38.

                                                                                                                                                                             Current value of the
                                                                                                                                                                             portion you own?
                                                                                                                                                                             Do not deduct secured
                                                                                                                                                                             claims or exemptions.
38. Accounts receivable or commissions you already earned

       0    No
       □ Yes. Describe..


39. Office equipment, furnishings, and supplies
       Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
                      desks, chairs, electronic devices

       0 No
       □ Yes. Describe..


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       0    No
       □ Yes. Describe..


41. Inventory

       0 No
       □ Yes. Describe..


42. Interests in partnerships or joint ventures

       0    No
       □ Yes. Describe..... Name of entity:                                                                                                        % of ownership:

43. Customer lists, mailing lists, or other compilations

      0     No
      |—| Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101 (41 A))?
                    □ No                                               -----------------------------------------------------------------------------------------------
                    □ Yes. Describe..


44. Any business-related property you did not already list

      0 No
      □ Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here..........................................................................................................                                   $0.00




Official Form 106A/B                                                              Schedule A/B: Property                                                                                     page 6
Debtor 1           Orly Genger                                                                                                                     Case number (if known)   19-10926


 Part 6:         Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                 If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

     |7[ No. Go to Part 7.
     □ Yes. Go to line 47.


                                                                                                                                                                                 Current value of the
                                                                                                                                                                                 portion you own?
                                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                                 claims or exemptions.
47. Farm animals
     Examples: Livestock, poultry, farm-raised fish
     0 No              ___________________________________________________________________________________________________
     □ Yes....                                                                                                                                                                  ______________________


48. Crops--either growing or harvested

     0 No                                       ________________________________________________________
     □ Yes. Give specific
       information....................................................................................................................................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade




     0     No
     £] Yes. Give specific
           information..................

52. Add the dollar value of a II of your entries from Part 6, including any entries for pages you have
                                                                                                                                                                                                $0.00
    attached for Part 6. Writ


                 Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     0     No
     □ Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.                                                                                                            $0.00




Official Form 106A/B                                                                               Schedule A/B: Property                                                                        page 7
Debtor 1         Orly Genger                                                                            Case number (if known)    19-10926


  Part 8:       List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..........................................................                                                   $0.00

56. Part 2: Total vehicles, line 5                                                                      $0.00

57. Part 3: Total personal and household items, line 15                                           $17,547.00

58. Part 4: Total financial assets, line 36                                                       $39,080.77

59. Part 5: Total business-related property, line 45                                                    $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                           $0.00

61. Part 7: Total other property not listed, line 54                                        +           $0.00

                                                                                                                 Copy personal
62. Total personal property.               Add lines 56 through 61....................            $56,627.77     property total      +_      $56,627.77


63. Total of all property on Schedule A/B.                     Add line 55 + line 62.....                                                    $56,627.77




Official Form 106A/B                                                           Schedule A/B: Property                                             page 8
Debtor 1     Orly Genger                                                            Case number (if known)   19-10926


25. Trusts, equitable or future interests in property (details):

     Beneficial Interest in The Orly Genger 2007 Family Trust                                                           Unknown

     Beneficial Interest in The Orly Genger 1993 Trust                                                                  Unknown

     Beneficial Interest in The Arie Genger 1995 Life Insurance Trust                                                   Unknown

33. Claims against third parties (details):

     Claims against Sagi Genger and related or affiliated entities or transferees or individuals                        Unknown

     Claims against Dalia Genger and related or affiliated entities or transferees and Dalia Genger As                  Unknown
     Trustee
     Claims against Zeichner Ellman & Krause LP for legal malpractice                                                   Unknown

     Third party claims have been asserted by Sagi Genger in Dalia Genger v. Sagi Genger v. Orly                        Unknown
     Genger, Index No. 1:17cv8181, United States District Court, Southern District of New York
     (Debtor asserts that no claims by her exists in this action)
     Manhattan Safety Maine Inc. and Recovery Effort, Inc. vs. Michael Bowen, et al. Civil Action 19-                   Unknown
     5642, United States District Court, Southern District of New York (Debtor asserts no claims by
     her exists in this action).
     Recovery Effort, Inc. vs. Zeichner Ellman & Krause et al.; Case No. 19CV5641 United States                         Unknown
     District Court, Southern District of New York (Debtor asserts no claims by her exists in this
     action).
     ‘Captions of cases where claims have been asserted are attached to this supplement as Exhibit                         $0.00
     5
     Claims against past or present trustees to the Orly Genger 1993 Trust                                              Unknown

     Claims against TPR Investment Associates, Inc.                                                                     Unknown

     Claims against Robin Rodriguez                                                                                     Unknown

     Claims against Manhattan Safety Maine, Inc. and Recovery Effort, Inc.                                              Unknown

     Claims against David Parnes                                                                                        Unknown

     Claims against D&K Limited Partnership                                                                             Unknown

35. Any financial assets you did not already list (details):

     Morgan Stanley (expired check)                                                                                      $191.43

    Vanguard (expired check)                                                                                               $0.23

    Vanguard (expired check)                                                                                             $153.11




Official Form 106A/B                                       Schedule A/B: Property                                          page 9
     Fill in this information to identify your case:
     Debtor 1             Orly___________________________ Genqer_____
                          First Name           Middle Name           Last Name
     Debtor 2            _________________________________________________________
     (Spouse, if filing) First Name          Middle Name          Last Name

     United States Bankruptcy Court for the:   WESTERN DISTRICT OF TEXAS                                              □ Check if this is an
                                                                                                                          amended filing
     Case number          19-10926__________________________________
     (if known)


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                     04/19


Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of         Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


     Parti:          Identify the Property You Claim as Exempt

1.      Which set of exemptions are you claiming?               Check one only, even if your spouse is filing with you.
        0       You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
        £]      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.      For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on                Current value of     Amount of the                 Specific laws that allow exemption
SchedulejA/B that lists this property                        the portion you      exemption you claim
                                                             own
                                                             Copy the value from Check only one box for
                                                             Schedule A/B         each exemption


Brief description:                                               Unknown          Q ______________             Tex. Prop. Code § 41.0021
Condominium                                                                       [7J   100% of fair market
1/2 undivided interest as separate                                                      value, up to any
property                                                                                applicable statutory

Line from Schedule A/B: 1.1                                                             limit


Brief description:                                               $2,075.00        |~l ______________           Tex. Prop. Code §§ 42.001(a),
See attached Exhibit 1                                                                  100% of fair market    42.002(a)(1)
                                                                                        value, up to any
Line from Schedule A/B:            6
                                                                                        applicable statutory
                                                                                        limit

Brief description:                                                $795.00         □ ______________             Tex. Prop. Code §§ 42.001(a),
See attached Exhibit 2                                                            [?J 100% of fair market      42.002(a)(1)
                                                                                        value, up to any
Line from Schedule A/B:            7
                                                                                        applicable statutory
                                                                                        limit


3.     Are you claiming a homestead exemption of more than $170,350?
       (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

        0    No
        □    Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                □   No
                □   Yes


Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                                page 1
Debtor 1      Orly Genger                                                             Case number (if known)   19-10926


  Part 2:       Additional Page
Brief description of the property and line on        Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property                the portion you     exemption you claim
                                                     own
                                                     Copy the value from Check only one box for
                                                     Schedule A/B        each exemption

Brief description:                                       $1,000.00       n                           Tex. Prop. Code §§ 42.001(a),
Alfredo Jaar (Chilean born 1956).                                        [2   100% of fair market    42.002(a)(1)
Searching for Gramsci, 2004. Inkjet print                                     value, up to any
with silkscreen text on paper, 22 x 30 in                                     applicable statutory
(55.9 x 76.2 cm)                                                              limit

Line from Schedule A/B:  8

Brief description:                                       $8,134.00       □                           Tex. Prop. Code §§ 42.001(a),
See attached Exhibit 3                                                   0    100% of fair market    42.002(a)(5)
                                                                              value, up to any
Line from Schedule A/B:     11
                                                                              applicable statutory
                                                                              limit

Brief description:                                      $5,543.00        □                           Tex. Prop. Code §§ 42.001(a),
See attached Exhibit 4                                                   0    100% of fair market    42.002(a)(6)
                                                                              value, up to any
Line from Schedule A/B:     12
                                                                              applicable statutory
                                                                              limit

Brief description:                                      $8,282.00       _ □                          Tex. Prop. Code § 42.0021
IRA - Morgan Stanley                                                     0    100% of fair market
                                                                              value, up to any
Line from Schedule A/B:     21
                                                                              applicable statutory
                                                                              limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
     Fill in this information to identify your case:
     Debtor 1             Orly____________________________Genqer_____
                          First Name           Middle Name             Last Name

     Debtor 2            _________________________________________________________
     (Spouse, if filing) First Name          Middle Name          Last Name


     United States Bankruptcy Court for the:    WESTERN DISTRICT OF TEXAS

     Case number          19-10926___________________________________                                                I~l   Check if this is an
     (if known)
                                                                                                                           amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
        □       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
        0    Yes. Fill in all of the information below.


     Parti:           List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one                Column A              Column B                  Column C
        creditor has a particular claim, list the other creditors in Part 2. As             Amount of claim       Value of collateral       Unsecured
        much as possible, list the claims in alphabetical order according to the            Do not deduct the     that supports this        portion
        creditor's name.                                                                    value of collateral   claim                     If any

  2 •]                                            Describe the property that
--------                                          secures the claim:                          $5,451,389.27_______ *unknown                 *unknown
^Qen3er----------------------------------- Personal Property
Creditors name                                                     r     J
17001 Collins Ave., Apt. 2805______
Number       Street


                                                  As of the date you file, the claim is: Check all that apply.
                                                   □ Contingent
Sunny Isles                FL      33160           □ Unliquidated
City                       State   ZIP Code
                                                   □ Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
0 Debtor 1 only                                    0 An agreement you made (such as mortgage or secured car loan)
□ Debtor 2 only                                    |—| Statutory lien (such as tax lien, mechanic’s lien)
□ Debtor 1 and Debtor 2 only
                                                   □ Judgment lien from a lawsuit
□ At least one of the debtors and another
                                                   0 Other (including a right to offset)
□ Check if this claim relates                             Lien on personal property
  to a community debt
Date debt was incurred             2007-2019      Last 4 digits of account number


‘Value is speculative




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                             $5,451,389.27

Official Form 106D                             Schedule D: Creditors Who Have Claims Secured by Property                                             page 1
Debtor 1         Orly Genger                                                                 Case number (if known)      19-10926

                    Additional Page                                                      Column A               Column B              Column C
                                                                                         Amount of claim        Value of collateral   Unsecured
  Parti:            After listing any entries on this page, number them
                                                                                         Do not deduct the      that supports this    portion
                    sequentially from the previous page.
                                                                                         value of collateral    claim                 |f any


  2.2                                            Describe the property that
                                                 secures the claim:                         $2,301,399.48          Unknown            *unknown
Eric Herschmann_______                           Contingent lien on Debtor's
Creditors name
210 Lavaca St., Unit 1903                        interest in condominiu
Number     Street


                                                 As of the date you file, the claim is: Check all that apply.
                                                 □ Contingent
Austin                    TX      78701          □ Unliquidated
City                      State   ZIP Code
                                                 □ Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.
□ Debtor 1 only
                                                 0 An agreement you made (such as mortgage or secured car loan)
□ Debtor 2 only
                                                 □ Statutory lien (such as tax lien, mechanic's lien)
□ Debtor 1 and Debtor 2 only
                                                 □ Judgment lien from a lawsuit
0 At least one of the debtors and another
                                                 0 Other (including a right to offset)
□ Check if this claim relates                        *Lien on condominium is only to extent determined not to be exempt
  to a community debt
Date debt was incurred            12/30/2016     Last 4 digits of account number

‘Value is speculative
**at least




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                          $2,301,399.48

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                         $7,752,788.75

Official Form 106D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 2
     Fill in this information to identify your case:
     Debtor 1              Orly____________________________Genqer_________
                           First Name            Middle Name          Last Name

     Debtor 2            ______________________________________________________________
     (Spouse, if filing) First Name          Middle Name          Last Name


     United States Bankruptcy Court for the:     WESTERN DISTRICT OF TEXAS

     Case number           19-10926___________________________________                                                □ Check if this is an
     (if known)
                                                                                                                              amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                     12/15


Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


     Parti:          List All of Your PRIORITY Unsecured Claims
1.      Do any creditors have priority unsecured claims against you?
        P7f     No. Go to Part 2.

        □
2.      List all of your priority unsecured claims, if a creditor has more than one priority unsecured claim, list the creditor separately for each
        claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
        show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If
        more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
        claim, list the other creditors in Part 3.

        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                        Total claim           Priority         Nonpriority
                                                                                                                              amount           amount



                                                               Last 4 digits of account number
Priority Creditor's Name
                                                               When was the debt incurred?
Number           Street
                                                               As of the date you file, the claim is: Check all that apply.
                                                                □ Contingent
                                                                □ Unliquidated
                                                                □ Disputed
City                                State   ZIP Code
Who incurred the debt?              Check one.                 Type of PRIORITY unsecured claim:
□      Debtor 1 only                                           □ Domestic support obligations
□      Debtor 2 only                                           □ Taxes and certain other debts you owe the government
□      Debtor 1 and Debtor 2 only                              □ Claims for death or personal injury while you were
□      At least one of the debtors and another                   intoxicated
[[] Check if this claim is for a community debt                □ Other. Specify
Is the claim subject to offset?
□ No
□ Yes




Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                              page 1
Debtor 1          Orly Genger                                                                   Case number (if known)       19-10926

     Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.      Do any creditors have nonpriority unsecured claims against you?
        □      No. You have nothing to report in this part. Submit this form to the court with your other schedules.

        0 Yes
4.      List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
        If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
        Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.


                                                                                                                                               Total claim


                                                                                                                                                  Unknown
D&K GP LLC_______                                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                             When was the debt incurred?
c/o Ira Tokayer, Esq.
Number          Street                                       As of the date you file, the claim is: Check all that apply.
420 Lexington Ave.                                           0 Contingent
                                                             0 Unliquidated
                                                             0 Disputed
New York                 _______ NY      10170
City                            State  ZIP Code              Type of NONPRIORITY unsecured claim:
Who incurred the debt?           Check one.
                                                             □ Student loans
0 Debtor 1 only
                                                             |~| Obligations arising out of a separation agreement or divorce
□ Debtor 2 only
                                                                 that you did not report as priority claims
□ Debtor 1 and Debtor 2 only
                                                             □ Debts to pension or profit-sharing plans, and other similar debts
□ At least one of the debtors and another
                                                             0 Other. Specify
□ Check if this claim is for a community debt                    Services
Is the claim subject to offset?
□ No
0 Yes

     4.2                                                                                                                                          Unknown
Dalia Genger______                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?           __________________
200 E. 65th St. 32w
Number          Street                                      As of the date you file, the claim is: Check all that apply.
                                                             0 Contingent
                                                             0 Unliquidated
                                                             0 Disputed
New York                        NY       10021
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?           Check one.
                                                             □ Student loans
0 Debtor 1 only
                                                             □ Obligations arising out of a separation agreement or divorce
□ Debtor 2 only
                                                                 that you did not report as priority claims
□ Debtor 1 and Debtor 2 only
                                                             □ Debts to pension or profit-sharing plans, and other similar debts
□ At least one of the debtors and another
                                                             0 Other. Specify
□ Check if this claim is for a community debt                    Claims made
Is the claim subject to offset?
□ No
0      Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 2
Debtor 1            Orly Genger                                                                                       Case number (if known)    19-10926

   Part 2:            Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                                            Total claim
previous page.

    4.3                                                                                                                                                    $1,457,751.00
Kasowitz, Benson. Torres LLP                                                     Last 4 digits of account number           1    1   9    4
Nonpriority Creditor’s Name
                                                                                 When was the debt incurred?            1/1/17-7/12/19
Attn: Matthew Stein, Esq.
Number           Street                                                          As of the date you file, the claim is: Check all that apply.
1633 Broadway, 21st Floor                                                        □ Contingent
                                                                                 □ Unliquidated
                                                                                 □ Disputed
New York                                  NY          10019
City                                      State       ZIP Code                   Type of NONPRIORITY unsecured claim:
Who incurred the debt?                    Check one.
                                                                                 □ Student loans
0      Debtor 1 only
                                                                                 □ Obligations arising out of a separation agreement or divorce
□ Debtor 2 only
                                                                                       that you did not report as priority claims
□ Debtor 1 and Debtor 2 only
                                                                                 □ Debts to pension or profit-sharing plans, and other similar debts
□ At least one of the debtors and another
                                                                                 0 Other. Specify
□ Check if this claim is for a community debt                                          Attorney Fees
Is the claim subject to offset?
0 No
□ Yes


U±J                                                                                                                                                              $750.00
IVIarkel Surety______________________________ Last 4 digits of account number_______________
Nonpriority Creditors Name                    When was the debt incurred?   9/21/2017-2019
do Suretec Insurance Company___________                                                                                ________________
Number           Street                    As of the date you file, the claim is: Check all that apply.
5555 Garden Grove Blvd.____________________ □ Contingent
Suite 275                                  □ Unlic1uidated
-------------------------------------------------------------------------------------- I-] Disputed
Westminster_______                        CT        92687
City                                    State       ZIP Code                    Type of NONPRIORITY unsecured claim:
Who incurred the debt?                    Check one.
                                                                                 □ Student loans
0 Debtor 1 only
                                                                                 □ Obligations arising out of a separation agreement or divorce
□ Debtor 2 only
                                                                                      that you did not report as priority claims
□ Debtor 1 and Debtor 2 only
                                                                                 Q Debts to pension or profit-sharing plans, and other similar debts
□ At least one of the debtors and another
                                                                                 0 Other. Specify
[] Check if this claim is for a community debt                                        Services
Is the claim subject to offset?
0 No
□ Yes

Court Bond in the sum of $10,000.00

LIU
Orly Genger 1993 Trust_______________                                           Last 4 digits of account number______________
                                                                                                                                                              Unknown

Nonpriority Creditor's Name
                                                                                When was the debt incurred?            __________________
c/o Michael Oldner___________________
Number           Street                                                         As of the date you file, the claim is: Check all that apply.
86 Pleasant Valley Dr._________________                                         0 Contingent
                                                                                0 Unliquidated
#16_________________________________
                                                                                0 Disputed
Little Rock__________ AK                            72227
City                                    State   ZIP Code                        Type of NONPRIORITY unsecured claim:
Who incurred the debt?                   Check one.
                                                                                □ Student loans
0 Debtor 1 only
                                                                                |~| Obligations arising out of a separation agreement or divorce
□ Debtor 2 only
                                                                                      that you did not report as priority claims
□ Debtor 1 and Debtor 2 only
                                                                                [~1   Debts to pension or profit-sharing plans, and other similar debts
□ At least one of the debtors and another
                                                                                0 Other. Specify
□ Check if this claim is for a community debt                                         Claims Asserted by Trust
Is the claim subject to offset?
□ No
0      Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                                                page 3
Debtor 1         Orly Genger                                                                 Case number (if known)      19-10926

  Part 2:          Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

                                                                                                                                    $3,219,693.00
Sagi Genger_________________________                      Last 4 digits of account number_______________
Nonpriorrty Creditor’s Name
                                                          When was the debt incurred?          __________________
c/o John Dellaportas__________________
Number         Street                                     As of the date you file, the claim is: Check all that apply.
Emmet, Marvin & Martin, LLP___________                    □ Contingent
                                                          □ Unliquidated
120 Broadway, 32nd Floor_____________
                                                          0 Disputed
New York____________NY                 10271
City                           State  ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt?         Check one.
                                                          □ Student loans
0 Debtor 1 only
                                                          □ Obligations arising out of a separation agreement or divorce
p] Debtor 2 only
                                                              that you did not report as priority claims
|~| Debtor 1 and Debtor 2 only
                                                          [—| Debts to pension or profit-sharing plans, and other similar debts
□ At least one of the debtors and another
                                                          0 Other. Specify
|~| Check if this claim is fora community debt                Judgment on appeal
Is the claim subject to offset?
□ No

0 Yes
     4.7                                                                                                                               Unknown
TPR Investment Associates Inc.________                    Last 4 digits of account number                  ___
Nonpriority Creditor’s Name
                                                          When was the debt incurred?          __________________
c/o John Dellaportas__________________
Number        Street                                      As of the date you file, the claim is: Check all that apply.
Emmet, Marvin & Martin, LLP___________                    0 Contingent
                                                          0 Unliquidated
120 Broadway, 32nd Floor_____________
                                                          0 Disputed
New York____________NY                 10271
City                           State  ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?         Check one.
                                                          □ Student loans
0 Debtor 1 only
                                                          |—| Obligations arising out of a separation agreement or divorce
□ Debtor 2 only
                                                              that you did not report as priority claims
|~| Debtor 1 and Debtor 2 only
                                                          |~| Debts to pension or profit-sharing plans, and other similar debts
□ At least one of the debtors and another
                                                          0 Other. Specify
□ Check if this claim is for a community debt                 Claim
Is the claim subject to offset?
□ No
0 Yes


   4.8                                                                                                                               $488,310.98
Zeichner Ellinan & Krause LLP                            Last 4 digits of account number_______________
Nonpriority Creditor’s Name
                                                         When was the debt incurred?          __________________
1211 Avenue of the Americas
Number        Street                                     As of the date you file, the claim is: Check all that apply.
40th Floor                                               □ Contingent
                                                         [~] Unliquidated
                                                         0 Disputed
New York                ________NY     10036
City                           State  ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?         Check one.
                                                         □ Student loans
0 Debtor 1 only                                          p| Obligations arising out of a separation agreement or divorce
□ Debtor 2 only
                                                             that you did not report as priority claims
[~~| Debtor 1 and Debtor 2 only
                                                         p] Debts to pension or profit-sharing plans, and other similar debts
pj     At least one of the debtors and another
                                                         0 Other. Specify
[~1 Check if this claim is for a community debt              Attorney Fees
Is the claim subject to offset?
□ No
0 Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 4
Debtor 1       Orly Genger                                                              Case number (if known)     19-10926

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6-   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                             Total claim

Total claims      6a.   Domestic support obligations                                                 6a.                   $0.00
from Part 1
                  6b.   Taxes and certain other debts you owe the government                         6b.                   $0.00

                  6c.   Claims for death or personal injury while you were intoxicated               6c.                   $0.00

                  6d.   Other. Add all other priority unsecured claims. Write that amount here.      6d. +                 $0.00


                  6e.   Total.   Add lines 6a through 6d.                                            6d.                   $0.00




                                                                                                             Total claim

Total claims      6f.   Student loans                                                                6f.     ___________$0.00
from Part 2
                  6g.    Obligations arising out of a separation agreement or divorce                6g.                   $0.00
                        that you did not report as priority claims

                  6h.    Debts to pension or profit-sharing plans, and other similar                 6h.                   $0.00
                        debts

                  6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i. +      $5,166,504.98


                  6j.   Total.   Add lines 6f through 6i.                                            6j.        $5,166,504.98




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                    page 5
     Debtor 1             Orly                                         Genqer
                          First Name             Middle Name           Last Name

     Debtor 2
     (Spouse, if filing) First Name              Middle Name           Last Name


     United States Bankruptcy Court for the:    WESTERN DISTRICT OF TEXAS

     Case number          19-10926                                                                                    □    Check if this is an
     (if known)
                                                                                                                           amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15


Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.      Do you have any executory contracts or unexpired leases?
                No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        £]      Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
        is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
        executory contracts and unexpired leases.


             Person or company with whom you have the contract or lease                    State what the contract or lease is for




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                               page 1
     Fill in this information to identify your case:
     Debtor 1                Orly____________________________Genqer_____
                             First Name             Middle Name                 Last Name

     Debtor 2            _________________________________________________________
     (Spouse, if filing) First Name           Middle Name         Last Name


     United States Bankruptcy Court for the:        WESTERN DISTRICT OF TEXAS

     Case number             19-10926__________________________________                                                        □ Check if this is an
     (if known)
                                                                                                                                     amended filing




Official Form 106H
Schedule H: Your Codebtors                                                                                                                                       12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.      Do you have any codebtors?               (If you are filing a joint case, do not list either spouse as a codebtor.)

        □ N°
        0       Yes

2.      Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
        include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

        □       No. Go to line 3.
        [yf     Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                □     No
                0     Yes
                      In which community state or territory did you live?                   Texas______   Fill in the name and current address of that person.

                      Eric Herschmann_________________________________________
                      Name of your spouse, former spouse, or legal equivalent
                      210 Lavaca St.           _______________________________________
                      Number          Street
                      Unit 1903_______________________________________________
                      Austin________________________ JX_______ 78701___________
                      City                                            State           ZIP Code

3.      In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
        person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
        creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
        Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

              Column 1: Your codebtor                                                                      Column 2: The creditor to whom you owe the debt

                                                                                                           Check all schedules that apply:


3.1           Arie Genqer
              Name
                                                                                                           0    Schedule D, line       2.2
              17001 Collins Ave., Apt. 2805                                                                □    Schedule E/F, line
              Number         Street
                                                                                                           □    Schedule G, line

                                                              FL                33160                      Eric Herschmann
              Sunny Isles
              City                                            State             ZIP Code




Official Form 106H                                                      Schedule H: Your Codebtors                                                               page 1
     Fill in this information to identify your case:
      Debtor 1              Orly                                        Genger
                            First Name           Middle Name            Last Name                           Check if this is:

      Debtor 2                                                                                              □    An amended filing
      (Spouse, if filing)   First Name           Middle Name            Last Name

                                                WESTERN DISTRICT OF TEXAS                               |   □    A supplement showing postpetition
      United States Bankruptcy Court for the:
                                                                                                                 chapter 13 income as of the following date:
      Case number           19-10926
      (if known)
                                                                                                                 WIM / DD / YYYY

Official Form 1061
Schedule I: Your Income                                                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


     Part 1:       Describe Employment
       Fill in your employment
       information.                                             Debtor 1                                           Debtor 2 or non-filinq spouse
       If you have more than one
       job, attach a separate page       Employment status      l~l    Employed                                    R-     Employed
       with information about                                   W\     Not employed                                |~|    Not employed
       additional employers.
                                         Occupation                                                                 Attorney
       Include part-time, seasonal,
       or self-employed work.            Employer's name                                                             Kasowitz Benson Torres LLP

       Occupation may include            Employer's address                                                              1633 Broadway, 21st Floor
       student or homemaker, if it                              Number Street                                      Number Street
       applies.




                                                                                                                          New York, NY 10019
                                                                City                       State   Zip Code        City                  State   Zip Code

                                         How long employed there?        __________________                                 1996-preS6nt______


     Part 2:       Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                           For Debtor 1              For Debtor 2 or
                                                                                           _______________           non-filing spouse

                                                                                                      $0.00                 *
2.     List monthly gross wages, salary, and commissions (before all                2.
       payroll deductions). If not paid monthly, calculate what the monthly wage
       would be.
                                                                                                                            *
3.     Estimate and list monthly overtime pay.                                      3. +              $0.00

4.     Calculate gross income. Add line 2 + line 3.                                 4.                $0.00




Official Form 1061                                             Schedule I: Your Income                                                               page 1
Debtor 1          Orly Genger                                                                                                   Case number (if known)            19-10926
                                                                                                                       For Debtor 1       For Debtor 2 or
                                                                                                                       _______________    non-filing spouse
      Copy line 4 here................................................................................... -j>   4.      _______$0.00            *_______
5.    List all payroll deductions:
                                                                                                                                                    *
      5a. Tax, Medicare, and Social Security deductions                                                         5a.             $0.00
      5b. Mandatory contributions for retirement plans                                                          5b.             $0.00
                                                                                                                                $0.00           *
      5c. Voluntary contributions for retirement plans                                                          5c.
      5d. Required repayments of retirement fund loans                                                          5d.             $0.00            *
                                                                                                                                $0.00           *
      5e. Insurance                                                                                             5e.
      5f. Domestic support obligations                                                                          5f.             $0.00
      5g. Union dues                                                                                            5g.             $0.00               *
      5h, Other deductions.
            Specify:                                                                                            5h.+            $0.00
                                                                                                                                                *
6.    Add the payroll deductions.                  Add lines 5a + 5b + 5c + 5d + 5e + 5f +                      6.              $0.00
      5g + 5h.                                                                                                                                  *
7.    Calculate total monthly take-home pay.                          Subtract line 6 from line 4.              7.              $0.00
8.    List all other income regularly received:
      8a.   Net income from rental property and from operating a                                                8a.             $0.00
            business, profession, or farm
            Attach a statement for each property and business showing
            gross receipts, ordinary and necessary business expenses, and
            the total monthly net income.
                                                                                                                                                        *
      8b. Interest and dividends                                                                                8b.     _______ $0.00
                                                                                                                                                    *
      8c. Family support payments that you, a non-filing spouse, or a                                           8c.            $0.00
          dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.

      8d. Unemployment compensation                                                                             8d.     _______ $0,00            *

                                                                                                                                                *
      8e. Social Security                                                                                       8e.            $0.00
      8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) or any non­
            cash assistance that you receive, such as food stamps
            (benefits under the Supplemental Nutrition Assistance Program)
            or housing subsidies.
                                                                                                                                                *
            Specify:                                                                                            8f.            $0,00

      8g. Pension or retirement income                                                                          8g.            $0.00                *

      8h. Other monthly income.
            Specify:                                                                                            8h.+           $0,00
                                                                                                                                                *
                                                                                                                                                *
9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                    9.             $0.00

10.   Calculate monthly income. Add line 7 + line 9.                                                                           $0.00                *
                                                                                                                                                                                $0.00
      Add the entries inline 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
      friends or relatives.


      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

      Specify:     Payment of on-going monthly expenses by non-filing spouse_____________________                                                           11.     +    _$8,366.57
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                               12.           $8.366.57
      income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
      if it applies.                                                                                                                                                    Combined
                                                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
      0     No.                  None.
      □     Yes. Explain:




Official Form 1061                                                                 Schedule I: Your Income                                                                      page 2
     Fill in this information to identify your case:
                                                                                                             Check if this is:
      Debtor 1               Orlv                                              Genqer                        □    An amended filing
                             First Name              Middle Name               Last Name                     □    A supplement showing postpetition
                                                                                                                  chapter 13 expenses as of the
      Debtor 2
                             First Name              Middle Name               Last Name                          following date:
      (Spouse, if filing)

      United States Bankruptcy Court for the:
                                                  WESTERN DISTRICT OF TEXAS                              I
                                                                                                                  MM/DD/YYYY
      Case number            19-10926
      (if known)

Official Form 106J
Scheduit^^ouMExjDenses^^^^^^

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


     Parti:        Describe Your Household
1.     Is this a joint case?

       0     No. Go to line 2.
       □     Yes. Does Debtor 2 live in a separate household?
                   □    No
                   □    Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.     Do you have dependents?            □     No
                                          0     Yes, Fill out this information         Dependent's relationship to            Dependent's Does dependent
       Do not list Debtor 1 and
                                                for each dependent.................
                                                                                       Debtor 1 or Debtor 2______             age_________ live with you?
       Debtor 2.                                                                                                                             □   No
                                                                                       Daughter
                                                                                                                                             0   Yes
       Do not state the dependents'
                                                                                                                                             □   No
       names.
                                                                                                                                            □    Yes
                                                                                                                                            □    No
                                                                                                                                            □    Yes

                                                                                                                                            □    No
                                                                                                                                            □    Yes

                                                                                                                                            □    No
                                                                                                                                            □    Yes

3.     Do your expenses include                   0     No
       expenses of people other than              [~l   Yes
       yourself and your dependents?


 Part 2:           Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 1061.)                                          Your expenses

4.    The rental or home ownership expenses for your residence.                                                          4.         ________________ $0.00
       Include first mortgage payments and any rent for the ground or lot.                                                                      (Unknown)
       If not included in line 4:

       4a.   Real estate taxes                                                                                           4a.                     $2,021.73

       4b.   Property, homeowner's, or renter's insurance                                                                4b.                      $181.11

       4c.   Home maintenance, repair, and upkeep expenses                                                               4c.                      $450.00

       4d.   Homeowner's association or condominium dues                                                                 4d.                     $1,485.64




 Official Form 106J                                                Schedule J: Your Expenses                                                           page 1
Debtor 1         Orly Genger                                                                       Case number (if known)     19-10926

                                                                                                                       Your expenses


5.    Additional mortgage payments for your residence, such as home equity loans                                 5.                          $0.00

6.    Utilities:

      6a.    Electricity, heat, natural gas                                                                      6a.                      $130.00
      6b.    Water, sewer, garbage collection                                                                    6b.                      $100.00

      6c.    Telephone, cell phone, internet, satellite, and                                                     6c.                      $138.64
             cable services

      6d.    Other. Specify: ________________________________ __ ________________________________________        6d-                         $0.00

7.    Food and housekeeping supplies                                                                             7.                       $750.00

8.    Childcare and children's education costs                                                                   8.                       $473.65

9.    Clothing, laundry, and dry cleaning                                                                        9.                       $100.00

10. Personal care products and services                                                                          10.                      $100,00

11. Medical and dental expenses                                                                                  11.                      $133.80
12. Transportation. Include gas, maintenance, bus or train                                                       12.
      fare. Do not include car payments.

13. Entertainment, clubs, recreation, newspapers,                                                                13.                       $50.00
    magazines, and books
14. Charitable contributions and religious donations                                                             14.                         $0.00

15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a.    Life insurance                                                                                     15a.                        $0.00

      15b.    Health insurance                                                                                   15b.                    $2,252.00
      15c.    Vehicle insurance                                                                                  15c.                       $0.00

      15d.    Other insurance. Specify:       ________________________________________________________________   15d.                       $0.00
16. Taxes.         Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:     ______________________________________________________________________________________        16.                        $0.00

17. Installment or lease payments:

      17a.    Car payments for Vehicle 1                                                                         17a.

      17b.    Car payments for Vehicle 2                                                                         17b.

      17c.    Other. Specify: ___________________________________________________________________________        17c.

      17d.    Other. Specify: ___________________________________________________________________________        17d.

18. Your payments of alimony, maintenance, and support that you did not report as                                18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 1061).


19. Other payments you make to support others who do not live with you.
      Specify:     ______________________________________________________________________________________        19.

20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
      20a.    Mortgages on otherproperty                                                                         20a.

      20b.    Real estate taxes                                                                                  20b.

      20c.    Property, homeowner's, or renter's insurance                                                       20c.

      20d.    Maintenance, repair, and upkeep expenses                                                           20d.

      20e.    Homeowner's associationor condominium dues                                                         20e.




 Official Form 106J                                             Schedule J: Your Expenses                                                    page 2
Debtor 1         Orly Genger                                                                    Case number (if known)   19-10926

21. Other. Specify: _________________________________________________________________________________ 21 ■          +

22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.                   $8,366,57
    22b.    Copy line 22 (monthly expenses for .Debtor 2), if any, from Official Form 106J-2.                22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.                   $8,366.57

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I                                      23a.               $8,366.57

    23b.    Copy your monthly expenses from line 22c above.                                                  23b.                   $8,366.57
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.                   $0.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?


    0      No.
    f~l    Yes. Explain here:
                  None.




 Official Form 106J                                         Schedule J: Your Expenses                                                       page 3
     Fill in this information to identify your case:
     Debtor 1              Orly____________________________ Genqer_____
                           First Name             Middle Name             Last Name

     Debtor 2
     (Spouse, if filing) First Name               Middle Name             Last Name


     United States Bankruptcy Court for the:      WESTERN DISTRICT OF TEXAS

     Case number           19-10926___________________________________                                              □ Check if this is an
     (if known)
                                                                                                                         amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



     Part 1:         Summarize Your Assets

                                                                                                                                 Your assets
                                                                                                                                 Value of what you own

1.      Schedule A/B: Property (Official Form 106A/B)

        1a.     Copy line 55, Total real estate, from Schedule A/B............
                                                                                                                                                    $0.00



        1 b.   Copy line 62, Total personal property, from Schedule A/B
                                                                                                                                              $56,627.77


        1 c.   Copy line 63, Total of all property on Schedule A/B............                                                                $56,627,77


     Part 2:         Summarize Your Liabilities

                                                                                                                                     Your liabilities
                                                                                                                                     Amount you owe

2.      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a.    Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.            $7,752,788.75

3.      Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a.    Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F                                           $0.00



        3b.    Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.                    +        $5,166,504.98



                                                                                                       Your total liabilities           $12,919,293.73




     Part 3:         Summarize Your Income and Expenses

4.      Schedule I: Your Income (Official Form 1061)
        Copy your combined monthly income from line 12 of Schedule I
                                                                                                                                             $8,366.57

5.      Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J                                                                                 $8,366.57




Official Form 106Sum                     Summary of Your Assets and Liabilities and Certain Statistical Information                                     page 1
Debtor 1          Orly Genger                                                                  Case number (if known)    19-10926


     Part 4:       Answer These Questions for Administrative and Statistical Records

6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?

       □       No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
       I7I   ^es


7.     What kind of debt do you have?

       □     Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
             family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
       0 Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
             this form to the court with your other schedules.

8.     From the Statement of Your Current Monthly Income: Copy your total current monthly income from
       Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.


9.     Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                           Total claim

       From Part 4 on Schedule E/F, copy the following:


       9a.   Domestic support obligations. (Copy line 6a.)


       9b.   Taxes and certain other debts you owe the government. (Copy line 6b.)


       9c.   Claims for death or personal injury while you were intoxicated. (Copy line 6c.)


       9d.   Student loans. (Copy line 6f.)


       9e.   Obligations arising out of a separation agreement or divorce that you did not report as
             priority claims. (Copy line 6g.)

       9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)


       9g.   Total.    Add lines 9a through 9f.




Official Form 106Sum                  Summary of Your Assets and Liabilities and Certain Statistical Information                                 page 2
  Fill in this information to identify your case:
  Debtor 1             Orly___________________________ Genqer_______
                       First Name           Middle Name        Last Name

  Debtor 2            __________________________________________________________
  (Spouse, if filing) First Name          Middle Name         Last Name


  United States Bankruptcy Court for the:   WESTERN DISTRICT OF TEXAS

  Case number          19-10926__________________________________                                         □    Check if this is an
  (if known)
                                                                                                               amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                       12/15



If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                   Sign Below

     Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

     0 No
     p~|    Yes.    Name of person                                                            Attach Bankruptcy Petition Preparer's Notice,
                                                                                              Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct, ‘subject to Global Notes attached.


    X                                                         X ______________
           Orly Genger,    ibtor 1                               Signature of Debtor 2

           Date    08/08/2019                                    Date ________________
                   MM / DD / YYYY                                      MM / DD / YYYY




Official Form 106Dec                            Declaration About an Individual Debtor’s Schedules                                      page 1
     Fill in this information to identify your case:
     Debtor   1           Orlv                                            Genqer
                          First Name               Middle Name            Last Name

     Debtor 2
     (Spouse, if filing) First Name                Middle Name            Last Name

                                                  WESTERN DISTRICT OF TEXAS                          I
     United States Bankruptcy Court for the:

  Case number             19-10926                                                                                     □ Check if this is an
| (if known)                                                                                         j
                                                                                                                           amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                               04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


     Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.      What is your current marital status?
        0 Married
        □ Not married

2.      During the last 3 years, have you lived anywhere other than where you live now?
        □ No
        0 Yes.     List all of the places you lived in the last 3 years. Do not include where you live now.

            Debtor 1:                                            Dates Debtor 1         Debtor 2:                                     Dates Debtor 2
                                                                 lived there                                                          lived there
                                                                                        □ Same as Debtor 1                            □ Same as Debtor 1


           Shim'on Rokah 35______________________                From   Various 9/16_____________________________________________   From
           Number       Street                                                          Number      Street
                                                                 To         2/19                                                     To
           Tel Aviv 65148

           Israel____________________________                                          _____________________________
           City                        State    ZIP Code                                City                   State   ZIP Code


3.     Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
        (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
        Washington, and Wisconsin.)

        □ No
        0 Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 1
Debtor 1       Orly Genger                                                                    Case number (if known)        19-10926


     Part 2:       Explain the Sources of Your Income
4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities,
       if you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.


       □ No
       0 Yes. Fill in the details.


                                                      Debtor 1                                            Debtor 2

                                                    Sources of income          Gross income              Sources of income          Gross income
                                                    Check all that apply.      (before deductions        Check all that apply.      (before deductions
                                                                                and exclusions                                      and exclusions


From January 1 of the current year until            Q Wages, commissions,                        $0.00   |~~| Wages, commissions,
the date you filed for bankruptcy:                     bonuses, tips                                        bonuses, tips

                                                    □ Operating a business                               □ Operating a business



For the last calendar year:                         Q Wages, commissions,                        $0.00   □ Wages, commissions,
                                                       bonuses, tips                                        bonuses, tips
(January 1 to December 31,      2018 )
                                                    □ Operating a business                               [~| Operating a business
                                 YYYY


For the calendar year before that:                  Q Wages, commissions,              $380,261.00       □ Wages, commissions,
                                                       bonuses, tips                                        bonuses, tips
(January 1 to December 31,      2017 )
                                                    |^[ Operating a business                             [~j Operating a business
                                YYYY

5.     Did you receive any other income during this year or the two previous calendar years?
       Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
       unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
       and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
       Debtor 1.

       List each source and the gross income from each source separately. Do not include income that you listed in line 4.


       □ No
       0 Yes. Fill in the details.


                                                     Debtor 1                                             Debtor 2

                                                    Sources of income            Gross income            Sources of income             Gross income
                                                    Describe below.              from each source        Describe below.               from each source
                                                                                 (before deductions                                    (before deductions
                                                                                 and exclusions                                        and exclusions


From January 1 of the current year until
the date you filed for bankruptcy:



For the last calendar year:
                                                    Business                           $101,986.00

(January 1 to December 31,      2018 )
                              YYYY



For the calendar year before that:                 Business                             $53,042.00

(January 1 to December 31, 2017 )
                              YYYY




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2
Debtor 1         Orly Genger                                                                    Case number (if known)       19-10926


     Part 3:         List Certain Payments You Made Before You Filed for Bankruptcy
6.     Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

       0 No.         Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101 (8) as
                     "incurred by an individual primarily for a personal, family, or household purpose."

                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                     0 No. Go to line 7.

                     □ Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                              total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                              child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

       □ Yes.        Debtor 1 or Debtor 2 or both have primarily consumer debts.

                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     □ No. Go to line 7.

                     □ Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                              creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                              Also, do not include payments to an attorney for this bankruptcy case.


7.     Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
       Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
       corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
       agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
       such as child support and alimony.


       0 No
       □ Yes. List all payments to an insider.

8.     Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
       benefited an insider?
       Include payments on debts guaranteed or cosigned by an insider.

       □ No
       0 Yes. List all payments that benefited an insider.

                                                              Dates of       Total amount         Amount you           Reason for this payment
                                                              payment        paid                 still owe            Include creditor's name

Eric Herschmann_______                                                              $0.00           $2,301,394.88      Grant of contingent lien in
Insider's name                                                                                                         real estate.
                                                              September 2018
210 Lavaca St., Unit 1903
Number      Street

                                                                                                                       *at least
Austin_________________ TX                   78701
City                                State    ZIP Code


                                                              Dates of        Total amount        Amount you           Reason for this payment
                                                              payment         paid                still owe            Include creditor's name

Arie Genger______________                                                                          $5,451,389.27       Perfection of security
Insider's name                                                                                                         interest in personal property
                                                              8/3/18
17001 Collins Ave., Apt. 2805
Number     Street



Sunny Isles____________ FL                   33160
City                               State     ZIP Code




Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 3
Debtor 1      Orly Genger                                                                     Case number (if known)     19-10926

  Part 4:      Identify Legal Actions, Repossessions, and Foreclosures
9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.


     □ No
     0 Yes. Fill in the details.

Case title                               Nature of the case                            Court or agency                              Status of the case
Orly Genger v. Sagi Genger               Fraud claim against Sagi Genger               Supreme Court: New York County
                                                                                                                                    --------   0 Pending
                                         for taking interest in joint                  Court Name
                                         business venture.                                                                          _____ □ On appeal
                                                                                       Number      Street
Case number    100697/08                                                                                                            _____ □ Concluded



                                                                                       City                      State   ZIP Code


Case title                               Nature of the case                            Court or agency                              Status of the case
Orly Genger vs. Dalia Genger,            Breach of fiduciary durty case                Supreme Court: New York County
Sagi Genger et al                        against Sagi Genger related to a              Court Name                                   — 0            Pending

                                         sham foreclosure of shares in a                                                            --------   0 On appeal
                                         joint business venture.                       Number      Street
Case number    109749/09                                                                                                                           Concluded



                                                                                       City                      State   ZIP Code


Case title                               Nature of the case                            Court or agency                              Status of the case
In the matter of Orly Genger for         Removal of Dalia Genger as                   Surrogate's Court of the State of New „
removal of Dalia Genger as               Trustee of Debtor's Trust                    York_____________________________ 0 Pendlng
Trustee                                                                               Court Name                                               [~j On appeal
                                                                                      County of New York
Case number    0017/2008                                                              Number      Street                                       Q Concluded




                                                                                      City                      State    ZIP Code


Case title                               Nature of the case                           Court or agency                               Status of the case
Dalia Genger v. Sagi Genger              Appeal of S.D.N.Y. case listed               US Court of Appeals for the Second
                                                                                                                                               jyj Pending
and Orly Genger                          below (17-CV-8181)                           Circuit
                                                                                      Court Name                                               □ On appeal
                                                                                      40 Foley Square
Case number    18-2471 -CV                                                            Number     Street                                        □ Concluded



                                                                                      New York                  NY
                                                                                      City                      State    ZIP Code


Case title                               Nature of the case                           Court or agency                               Status of the case
Dalia Genger v. Sagi Genger v.           Sagi Genger suing Orly Genger for US District Court Southern District of
                                                                                                                                               |7[ Pending
Orly Genger                              indemnification for alleged       New York
                                         demand support from Dalia         Court Name                                                             On appeal
                                         Genger
Case number    1:17-CV-08181                                                          Number     Street                                        j~~| Concluded



                                                                                      City                      State    ZIP Code




Official Form 107                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 4
Debtor 1          Orly Genger                                                                     Case number (if known)      19-10926

Case title                                       Nature of the case                        Court or agency                                Status of the case
In the matter of petition of Dalia               Dalia Genger as Trustee of Orly           Surrogate's Court of the State of New
                                                                                                                                                0 Pending
Genger, as Trustee, to turnover                  Genger 1993 Trust seeking                 York
property                                         turnover of alleged property to           Court Name                                           □ On appeal
                                                 trust
Case number           0017/2008/e                                                          Number     Street                                    □ Concluded




                                                                                           City                       State    ZIP Code


10.    Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
       seized, or levied?
       Check all that apply and fill in the details below.


       □ No, Go to line 11.
       0 Yes. Fill in the information below.

                                                                 Describe the property                            Date               Value of the property

Sagi Genger_________________________                             Invalid judgment lien asserted by Sagi
Creditor’s Name                                                  Genger
c/o John Dellaportas__________________
Number       Street                                              Explain what happened
                                                                 □ Property was repossessed.
120 Broadway, 32nd Floor_____________
                                                                 □ Property was foreclosed.
                                                                 □ Property was garnished.
New York_______________ NY                       10271
City                                   State     ZIP Code        0 Property was attached, seized, or levied.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

       0 No
       □ Yes. Fill in the details.

12.    Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
       creditors, a court-appointed receiver, a custodian, or another official?

       0 No
       □ Yes


 Part5:            List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

       0 No
       [~1 Yes.   Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


       0   No
       □ Yes. Fill in the details for each gift or contribution.




Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 5
Debtor 1        Orly Genger                                                                 Case number (if known)      19-10926

  Part 6:            List Certain Losses
15.    Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
       other disaster, or gambling?

       0 no
       □ Yes. Fill in the details.


  Part 7:            List Certain Payments or Transfers
16.    Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
       anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

       □ No
       0 Yes. Fill in the details.

                                                     Description and value of any property transferred           Date payment        Amount of
                                                                                                                 or transfer was     payment
Waller Lansden Dortch & Davis, LLP                   Retainer
Person Who Was Paid                                                                                              made

100 Conqress Avenue , 18th Floor                                                                                      8/20/18           $35,000.00
Number      Street

                                                                                                                    8/21/2018           $40,000.00

Austin                        TX       78701
City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

       0   No
       □ Yes. Fill in the details.

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
       Do not include gifts and transfers that you have already listed on this statement.


       □ No
       |vf Yes. Fill in the details.   Soe above,
19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
       □ No
       0 Yes. Fill in the details.

Name of trust                                        Description and value of the property transferred                                  Date transfer
The Orly Genger 2007 Family Trust                    I sold my entire limited liability company member interest in Sugar                was made
                                                     Hill Property Fund IV LLC to the trust $110,000                                      12/7/2015

Name of trust                                        Description and value of the property transferred                                  Date transfer
The Orly Genger 2007 Family Trust                    I sold a 6.67% limited liability company member interest in RDA                    was made
                                                     Ventures LLC to the trust $25,000                                                   12/10/2015




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 6
Debtor 1        Orly Genger                                                                   Case number (if known)     19-10926

  Part 8:            List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
       Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
       houses, pension funds, cooperatives, associations, and other financial institutions.

       □ No
       0 Yes. Fill in the details.

                                                       Last 4 digits of account     Type of account or            Date account      Last balance
                                                       number                       instrument                    was closed,       before closing
                                                                                                                  sold, moved,      or transfer
                                                                                                                  or transferred
Northern Trust
Name of Financial Institution
                                                      XXXX- 2731                    0 Checking                       8/15/2018______ $9,434.56
40 West 57th St.                                                                    □ Savings
Number      Street
                                                                                    □ Money market
                                                                                    □ Brokerage
                                                                                    □ Other
New York                        NY      10019
City                            State   ZIP Code

                                                      Last 4 digits of account      Type of account or            Date account      Last balance
                                                      number                        instrument                    was closed,       before closing
                                                                                                                  sold, moved,      or transfer
                                                                                                                  or transferred
Vanguard
Name of Financial Institution
                                                      XXXX- 0       0    3    6     □ Checking                       08/10/2018        $62,302.94
P.O. Box 2600                                                                       □ Savings
Number      Street
                                                                                    □ Money market
                                                                                    0 Brokerage
                                                                                    □ Other
Valley Forqe                    PA      19482
City                            State   ZIP Code

                                                      Last 4 digits of account     Type of account or             Date account      Last balance
                                                      number                       instrument                     was closed,       before closing
                                                                                                                  sold, moved,      or transfer
                                                                                                                  or transferred
Vanguard
Name of Financial Institution
                                                      XXXX- 5       6    7    3     □ Checking                       8/13/2018________ $0.23
P.O. Box 2600                                                                       □ Savings
Number      Street
                                                                                    0 Money market
                                                                                    □ Brokerage
                                                                                    □ Other
Valley Forge                    PA      19482
City                            State   ZIP Code

                                                      Last 4 digits of account     Type of account or             Date account      Last balance
                                                      number                       instrument                     was closed,       before closing
                                                                                                                  sold, moved,      or transfer
                                                                                                                  or transferred
Morqan Stanley
Name of Financial Institution
                                                      XXXX- 15           0    0    □ Checking                        8/10/2018        $12,511.23
1585 Broadway                                                                      IT Savings
Number      Street
                                                                                   □ Money market
                                                                                   0 Brokerage
                                                                                   □ Other
New York                        NY      10036
City                            State   ZIP Code




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 7
Debtor 1        Orly Genger                                                                    Case number (if known)   19-10926

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

       0 No
       □ Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       □ No
       0 Yes. Fill in the details.

                                                     Who else has or had access to it?          Describe the contents               Do you still
                                                                                                                                    have it?

Located in Israel and New Jersey                     Family members                             Alfredo Jaar painting and           □ No
Name of Storage Facility                             Name                                       personal property with nominal      F7T ^es
                                                                                                value
Number      Street                                   Number   Street




City                       State   ZIP Code          City                  State   ZIP Code


  Part 9:            Identify Property You Hold or Contrpl for Someone Else
23.    Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
       or hold in trust for someone.

       □ No
       0 Yes. Fill in the details.


                                                    Where is the property?                      Describe the property              Value

Nily Dvora Genqer 2005 Trust                                                                    Cash held by Orly Genger,            $100.53
Owner's Name                                                                                    Trustee for Nily Dvora Genger
                                                     Morgan Stanley                             2005 Trust
Number     Street                                    Number   Street




                                                     New York              NY
City                       State   ZIP Code         City                   State   ZIP Code

                                                    Where is the property?                      Describe the property              Value

Gavriel Adir Genqer 2006 Trust                                                                  Cash held by Orly Genger,            $100.43
Owner’s Name                                                                                    Trustee for Gavriel Adir
                                                    Morgan Stanley                              Genger 2006 Trust
Number     Street                                   Number    Street




                                                    New York               NY
City                       State   ZIP Code         City                   State   ZIP Code

                                                    Where is the property?                      Describe the property              Value

Eitan Philip Genqer Trust                                                                       Cash held by Orly Genger,            $100.42
Owner’s Name                                                                                    Trustee for Eitan Philip
                                                    Morgan Stanley                              Genger
Number     Street                                   Number    Street




                                                    New York               NY
City                       State   ZIP Code         City                   State   ZIP Code




Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                         page 8
Debtor 1        Orly Genger                                                                   Case number (if known)        19-10926


  Part 10:          Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

■ Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
  hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
  including statutes or regulations controlling the cleanup of these substances, wastes, or material.
* Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
  utilize it or used to own, operate, or utilize it, including disposal sites.

■ Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
  substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?

       0   No
       □ Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous material?
       0 No
       □ Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

       0   No
       □ Yes. Fill in the details.


  Part 11:          Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

            □ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
            [2 A member of a limited liability company (LLC) or limited liability partnership (LLP)
            0 A partner in a partnership
            [~| An officer, director, or managing executive of a corporation
            m An owner of at least 5% of the voting or equity securities of a corporation

       □ No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.

                                                  Describe the nature of the business              Employer Identification number
                                                  Holding Company                                  Do not include Social Security number or ITIN.
Subex LLC_________________
Business Name
                                                                                                   EIN: _0_    6 - 1__ 4       6   3     6    4    5
c/o Holding Capital Group LLC                     Name of accountant or bookkeeper
Number     Street
                                                  Self prepared                                    Dates business existed
7 Ridgewood Dr.____________
                                                                                                   From        1996           To       2015
Bridgewater_____ CT              06752
City                     State   ZIP Code

                                                  Describe the nature of the business              Employer Identification number
                                                  Art production                                   Do not include Social Security number or ITIN.
Everything Important LLC
Business Name
                                                                                                   EIN: _2___ 6_ — _1__ 9___1___ 5___0___3___ 6^
19111 Collins Ave.______                          Name of accountant or bookkeeper
Number     Street
                                                  William Fischer                                  Dates business existed
Apt. 706_______________
                                                                                                   From       2/2008          To Continuing
Sunny Isles______ FL             33160
City                     State   ZIP Code



Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 9
Debtor 1        Orly Genger                                                                Case number (if known)   19-10926

                                                 Describe the nature of the business            Employer Identification number
                                                 Jewelry Production                             Do not include Social Security number or ITIN.
OGJM Inc.
Business Name
                                                                                                EIN:_2_   6-4        3        5   9   944
5823 Dover St.                                   Name of accountant or bookkeeper
Number     Street
                                                 Anthony Distefeno                              Dates business existed

                                                                                                From       2009          To Continuing
Oakland                CA      94609
City                   State   ZIP Code

                                                 Describe the nature of the business            Employer Identification number
                                                 Real estate fund                               Do not include Social Security number or ITIN.
Sugar Hill Property Fund III LLC
Business Name
                                                                                                EIN: 4    5-461                   2870
c/o Sugar Hill Property Partners LLC Name of accountant or bookkeeper
Number  Street
                                     CohnReznick                                                Dates business existed
256 W. 116th St., 2nd Floor
                                                                                                From      2012           To       2018
New York               NY      01002
City                   State   ZIP Code

                                                 Describe the nature of the business            Employer Identification number
                                                 Investment fund                                Do not include Social Security number or ITIN.
Angel Island PPE Fund LP
Business Name
                                                                                                EIN: 9    Q - 0      8        3   5   7   1     3
230 California St.                               Name of accountant or bookkeeper
Number     Street
                                                 Bdousa LLP                                    Dates business existed
Suite 520
                                                                                               From       2012           To       2015
San Francisco          CA      94111
City                   State   ZIP Code

                                                 Describe the nature of the business           Employer Identification number
                                                 Investment partnership                        Do not include Social Security number or ITIN.
COR IDF LLC
Business Name
                                                                                               EIN: _4_   6-0___ 8___6___2__ 2___ 6__ 0^
c/o RDA Ventures LLC                             Name of accountant or bookkeeper
Number     Street
                                                 Mazars USA LLP                                Dates business existed
104 W. 40th St., 19th Floor
                                                                                               From       2013        To          2015
New York               NY      10018
City                   State   ZIP Code

                                                 Describe the nature of the business           Employer Identification number
                                                 Investment partnership                        Do not include Social Security number or ITIN.
RDA Ventures LLC
Business Name
                                                                                               EIN: 1     1-3529555
104 W. 40th St., 19th Floor                     Name of accountant or bookkeeper
Number     Street
                                                Mazars USA LLP                                 Dates business existed

                                                                                               From       2014        To          2015
New York               NY      10018
City                   State   ZIP Code

                                                Describe the nature of the business            Employer Identification number
                                                Real estate fund                               Do not include Social Security number or ITIN.
Sugar Hill Property Fund IV, LLC
Business Name
                                                                                               EIN:_4_ _6_- _3___ 4___3___3__ 6___ 8__ 2_
c/o Sugar Hill Property Partners LLC Name of accountant or bookkeeper
Number  Street
                                     CohnReznick                                               Dates business existed
256 W. 116th St., 2nd Floor
                                                                                               From       2014        To          2015
New York               NY      10026
City                   State   ZIP Code




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 10
Debtor 1           Orly Genger                                                                  Case number (if known)    19-10926

                                                      Describe the nature of the business            Employer Identification number
AGOG Holdings LLC______________ Investments                                                          Do not include Social Security number or ITIN.
Business Name
                                                                                                     EIN:_4__ 7_- _2__ 2__ 9__ 6__ 1__ 7__ 7^
19111 Collins Ave., Apt. 706________ Name of accountant or bookkeeper
Number        Street
                                                      William Fischer                                Dates business existed

                                                                                                     From       2014          To     2017
Sunny Isles Beach FL                33160____
City                        State   ZIP Code

                                                      Describe the nature of the business            Employer Identification number
                                                                                                     Do not include Social Security number or ITIN.
TPR Investment Associates, Inc.
Business Name
                                                                                                     EIN: J___ 3_-_3___5___0___6___4           6      4
c/o John Dellaportas, Esq.__________ Name of accountant or bookkeeper
Number        Street
                                                                                                     Dates business existed
120 Broadway, 32nd Floor_________
                                                                                                     From   10/29/85        To_____________
New York________ NY                 10271
City                        State   ZIP Code

                                                      Describe the nature of the business            Employer Identification number
                                                                                                     Do not include Social Security number or ITIN.
D&K Limited partnership__________
Business Name
                                                                                                     EIN:_______-___________________________
c/o John Dellaportas, Esq. ________ . Name of accountant or bookkeeper
Number        Street
                                                                                                     Dates business existed
120 Broadway, 32nd Floor_________
                                                                                                     From    1/14/1994      To
New York________ NY                 10271
City                        State   ZIP Code

28.     Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
        all financial institutions, creditors, or other parties.

        0     No
        □ Yes. Fill in the details below.


  Part 12:             Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 u.s.c. §§152,1341,1519, and 3571. ‘Subject to Global Notes attached.



x L/(/€yp_________                                               x_______________________
       Orly Genger, Debtor 1                                        Signature of Debtor 2

       Date        08/08/2019                                       Date _________________


Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

0 No
□ Yes


Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

0      No
□ Yes. Name of person                                                                                Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                     Declaration, and Signature (Official Form 119).




Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 11
     Fill in this information to identify your case:
     Debtor 1            Orly     _____ ___________________ Genqer_____
                         First Name            Middle Name          Last Name

     Debtor 2            ________________________________________________________
     (Spouse, if filing) First Name          Middle Name          Last Name


     United States Bankruptcy Court for the:   WESTERN DISTRICT OF TEXAS

     Case number         19-10926_______________________________________                                                         □ Check if this is an
     (if known)
                                                                                                                                     amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                    12/15

If you are an individual filing under chapter 7, you must fill out this form if:

■ creditors have claims secured by your property, or

■ you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


     Parti:          List Your Creditors Who Hold Secured Claims

1.     For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
       fill in the information below.

        Identify the creditor and the property that is collateral         What do you intend to do with the             Did you claim the property
                                                                          property that secures a debt?                 as exempt on Schedule C?
                                                                                                                        _        *
        Creditor's       Arie Genger                                       □     Surrender the property.                    No
        name:                                                              |-j   Retain the property and redeem it.     Q   Yes

        Description of   Personal Property                                 d     Retain the property and enter into a

       property
                                                                                 Reaffirmation Agreement.
       securing debt:                                                      0     Retain the property and [explain]:
                                                                                 Disposition to be determined


       Creditor's        Eric Herschmann                                   □     Surrender the property.                Q   No
       name:                                                              |—|    Retain the property and redeem it.     ^   Yes

       Description of    Contingent lien on Debtor's interest in           tU    Retain the property and enter into a
                                                                                 Reaffirmation Agreement.
       property          condominiu
       securing debt:                                                     0      Retain the property and [explain]:
                                                                                 Retain as allowed for condominium
                                                                                 Disposition of remainder to be determined

        Includes exempt and nonexempt property




Official Form 108                              Statement of Intention for Individuals Filing Under Chapter 7                                    page 1
Debtor 1        Orly Genger                                                           Case number (if known)    19-10926


    Part 2:       List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

      Describe your unexpired personal property leases                                                         Will this lease be assumed?

      None.


    Part 3:       Sign Below

     Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
     personal property that is subject to an unexpired lease.

X
     Orly Genger, Debtor 1                                 Signature of Debtor 2

     Date     08/08/2019                                   Date ________________
              MM/DD/YYYY                                        MM / DD / YYYY




Official Form 108                       Statement of Intention for Individuals Filing Under Chapter 7                                 page 2
EXHIBIT 1
HOUSEHOLD GOODS AND FURNISHINGS



Wool area rug 9x11'               $125

Wool area rug 6x8'                $100

Table lamp Bauhaus style          $500

Eames chair and ottoman           $600

3 Silver picture frames           $60

Variety of picture frames         $40

Carry-on suitcase roller bag      $10

Suitcase                          $20

Silver candle sticks              $50

Variety of soft cover books       $50

Variety of hard cover books       $350

Artforum magazines                $25

Decorative boxes                  $25

Wooden hangers                    $40

Tupperware bins                   $20

Pillows and duvet                 $20

Variety of glass vases            $40



                          TOTAL   $2,075
EXHIBIT 2
Electronics



Nixplay digital photo frame                $95

Nixplay digital photo frame                $95

Bose wired headphones                      $35

Bose Powerbeats 3 wireless                 $60

Canon camera                               $200

Video camera                               $50

iPad                                       $50

Fitbitflex                                 $20

Personal space heater                      $10

Digital photo printer                      $10

2 Extracompact Twinturbo 3500 Hair Dryer   $140

Turbo power Twin Turbo 2600 Hair Dryer     $25

Flat Iron                                  $5



                                           $795
EXHIBIT 3
Clothing



27 Jeans                                $540

30 dresses                              $510

48 Tops and blouses                     $940

10 Jackets and vests                    $385

7 Coats                                 $210

52 T-shirts                             $565

70 Underwear (Bras, underwear, socks)   $384

22 sweaters                             $415

10 Swimwear                             $100

3 Jumpers                               $35

11 Skirts and pants                     $180

12 Wraps                                $350

18 Purses and bags                      $290

6 Boots                                 $420

18 High heels                           $1,500

8 Sneakers                              $120

12 Sandals                              $430

8 Flip Flops                            $160

8 Sunglasses                            $320

14 Hats, scarves and gloves             $280



Total                                   $8,134
EXHIBIT 4
Jewelry



Total                                           $5,543




Earrings

Black pearl and diamond earrings                $30

Yellow gold and diamond hoop earrings           $110

White gold channel set diamond hoops earrings   $150

18kt white gold sapphire and diamond earrings   $600

18kt yellow gold pave diamond earrings          $200

Sapphire and diamond earrings                   $80

Sapphire and diamond earrings                   $30

Silver amethyst earrings                        $10

18kt yellow gold bezel set diamond earrings     $650

Butterfly earrings costume                      $25

Oscar de La Renta star earrings                 $90

Metal earrings                                  $5

Ben Amun earrings costume                       $20

Ben Amun earrings costume                       $20

Ben Amun earrings costume                       $20

White earrings costume                          $5

Gold plated drop down earrings                  $5

Gold plated drop down earrings                  $5



                                                $2,055
Necklaces

18kt white gold sapphire and diamond pendant necklace   $325

Garnet beaded necklace                                  $30

18kt yellow gold chain necklace                         $275

10 strand coin biwa pearl necklace                      $150

Amethyst multistrand necklace                           $150

Quartz multistrand necklace                             $150

Gold plated necklace with pendants                      $5

Gold plated necklace with pendants                      $5

Gold plated necklace with resin                         $5

W. Britt pendant necklace                               $20

Gold plated pendant necklace                            $5

33 rope necklaces ($40 each)                            $1,320



                                                        $2,440



Rings

Platinum wedding band ring                              $60

18kt white gold CZ ring                                 $120

metal and resin ring                                    $2

metal and resin ring                                    $2

metal and resin ring                                    $2

metal and resin ring                                    $2

metal and resin ring                                    $2

metal and resin ring                                    $2

metal and resin ring                                    $2

metal and resin ring                                    $2

metal and resin ring                                    $2
                               $198



Bracelets

Gold plated Celine bracelet    $20

Gold colored cuff bracelet     $5

40 rope bracelets ($20 each)   $800



                               $825



Pins

Butterfly pin costume          $25



                               $25
EXHIBIT 5
             Case l:17-cv-08181-UA           Document 4   Filed 10/24/17    Page 1 of 7




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 DALIA GENGER,
                                Plaintiff,
                         v.                                                Index No. 1:17cv8181

 SAGI GENGER,                                                              ANSWER, AFFIRMATIVE
                                Defendant/Third-Party Plaintiff,           DEFENSE AND THIRD-
                         v.                                                PARTY COMPLAINT

 ORLY GENGER,
                                Third-Party Defendant.




                                               ANSWER

       Defendant/Third-Party Plaintiff Sagi Genger (“Sagi”), by and through his attorneys, as and

for his Answer to the Complaint of plaintiff Dalia Genger (“Dalia”), responds as follows:

        1.     Admits.

       2.      Admits.

       3.      Paragraph 3 states legal conclusions to which no answer is necessary.

       4.      Paragraph 4 states legal conclusions to which no answer is necessary.

       5.      Paragraph 5 states legal conclusions to which no answer is necessary.

       6.      Admits.

       7.      Admits.

       8.      Sagi respectfully refers to the decisions of this Court and the United States Court

of Appeals for the Second Circuit in the prior litigation between himself and third-party defendant

Orly Genger (“Orly”) for the true and correct contents thereof.

       9.      Admits.



                                                  1
SURROGATE’S COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK

                                                                     File No. 0017/2008
El the Matter of the Application of ORLY
GENGER, as a person interested, for the
removal of D ALIA GENGER, as Trustee of the
Orly Genger 1993 Trust pursuant to SCPA § 711(11)



                  THIRD AMENDED VERIFIED PETITION FOR REMOVAL
                           OF DALIA GENGER AS TRUSTEE



TO THE SURROGATE’S COURT, STATE OF NEW YORK
COUNTY OF NEW YORK

           Petitioner, Orly Genger (“Petitioner” or “Orly”'), by her attorneys, Platzer, Swergold,

Karlin, Levine, Goldberg & Jaslow, LLP, respectfully alleges as her Third Amended Verified

Petition (the “Third Amended Petition”') for Removal of Dalia Genger as Trustee as follows:

                  1.    Orly, domiciled at 780 Greenwich Street, Apartment #4P, New York, New

York 10014, is the current and sole beneficiary of the Orly Genger 1993 Trust dated December

13,1993 (the “Orly Trust”). Annexed hereto as Exhibit “A” is a copy of the Orly Trust.

                  2.   Dalia Genger (“Dalia” or “Respondent”!, residing at 200 East 65th Street,

Apartment #32W, New York, New York 10021 is Orly’s mother and is the current sole Trustee

of the Orly Trust. Dalia was appointed successor Trustee in January, 2008.

                  3.   The Orly Trust provides for discretionary payments of income and principal

to Petitioner during her lifetime with the remainder to be distributed to her-descendants, per

stirpes. If Petitioner dies leaving no descendants, the remainder of the trust property is to be

distributed to the Sagi Genger 1993 Trust (the “Sagi Trust”-). Sagi Genger (“Sagi”) is Orly’s

brother.
 SUPREME COURT: NEW YORK COUNTY

ORLY GENGER,                                              j   Index No.:

                                 Plaintiff.

                       - against -
                                                              Verified Complaint

SAG I GENGER,

                                 Defendant.




                Plaintiff Orly Genger, by her attorneys. Zeichner Ellman & Krause LLP. as

and for her Verified Complaint in this action alleges upon information and belief as

follows:




York and resides at 1965 Broadway, Apt 22G, New York, New York. Plaintiff is

accomplished artist whose work is well-known, but who has no schooling in business or

finance and little practical experience in those areas.


                2.      Defendant Sagi Genger (“Defendant”) is a resident of the state of

New York and resides at 1211 Park Avenue, New York, New York.                Defendant is

Plaintiffs older brother. Defendant holds an MBA in finance from The Wharton School,

and has years of practical experience as a businessman, including serving as both the Chief

Operating Officer and Chief Financial Officer of Lumenis, Ltd., a publicly traded
              Case l:17-cv-08181-UA         Document 1       Filed 10/24/17    Page 1 of 2




 UNITED STATES DISTRICT COURf
 SOUTHERN DISTRICT OF NEW YORK
                                                                      x
 DALIA GENGER,
                                        Plaintiff,
                        -against-                                          COMPLAINT

 SAGI GENGER,
                                        Defendant.                   x


         Plaintiff Dalia Genger (“Dalia”), by and through her attorneys, as and for her Complaint

 against defendant Sagi Genger (“Sagi”), alleges as follows:

         1.     Dalia is a resident of the State of New York.

        2.      Upon information and belief, Sagi is a resident of the State of Florida and also

maintains a residence in Connecticut.

        3.      This Court has subject-matter jurisdiction pursuant to 28 U.S.C, § 1332 because

the controversy is between citizens of different states and the matter in controversy exceeds the

sum or value of $75,000, exclusive of interests and costs.

        4.      This Court has personal jurisdiction over Sagi pursuant to CPLR 301 and 302(a)

and Rule 4(k)(l)(a) of the Federal Rules of Civil Procedure.

        5.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because a substantial part of

the events or omissions giving rise to this claim occurred in this District.

        6.      Pursuant to a letter agreement dated October 30, 2004, Sagi agreed to pay Dalia

an amount equal to all dividends, distributions, proceeds or other payments attributable to 794.40

shares of Trans-Resources, Inc. received by Sagi and/or his sister Orly Genger (and/or any trust

for the benefit of either of them), or any lesser amount demanded by Dalia. Upon information

and belief, the amount received exceeds $6,200,000.

       7.      In 2014, Dalia made a $200,000 written demand to Sagi under the October 30,
SURROGATE’S COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK
...................................... -................. -................ X                                     ^^|SSl"EPT.r

In the Matter of                                                                                                      JUN 14 2016
                                                                                                                        filed
             DALIA GENGER,
             Trustee of the Orly Genger 1993 Trust,

                          Petitioner,                                                                           Index No.   X.CX38 -IJ
                                                     -against

             ORLY GENGER, ARIE GENGER, GLENCLOVA
             INVESTMENT COMPANY, TR INVESTORS, LLC          PETITION FOR
             NEW TR EQUITY I, LLC, NEW TR EQUITY II, LLC,   TURNOVER OF
             TRANS-RESOURCES, INC., ARNOLD BROSER,        . TRUST PROPERTY
             DAVID BROSER, JOHN DOES. 1 -20, and            AND OTHER RELIEF
             JANE DOES 1-20,

                         Respondents,
-...........................................................................................................X

TO THE SURROGATE’S COURT, COUNTY OF NEW YORK:

             It is respectfully alleged:

                                                                          The Parties

             1.          Petitioner, Dalia Genger, resides and is domiciled at 200 E. 65th Street, in the City

of New York, County of New York and State of New York.

            2.           Petitioner is the Trustee of the Orly Genger 1993 Trust (the “Orly Trust”).

            3.           Respondent Orly Genger (“Orly”) is the only non-contingent beneficiary of the

Orly Trust. The remaining respondents (“Respondents”) are interested parties who wrongfully

aided and abetted Orly in the misappropriation of Orly Trust assets.

                                                              Jurisdiction and Venue

            4,          This Court has subject matter jurisdiction pursuant to the Surrogate’s Court

Procedure Act, inter alia. SCPA 103(50), SCPA 207(1), and SCPA 209(6).


                                                                                 -1-
IFILED: NEW YORK COUNTY CLERK 08/11/20101                                                      INDEX NO. 109749/2009
NYSCEF DOC. NO. 83                                                                     RECEIVED NYSCEF    08/11/2010




             SUPREME COURT: NEW YORK COUNTY

             ORLY GENGER in her individual capacity and on             Index No.: 109749/09
             behalf of the Orly Genger 1993 Trust (both in its
             individual capacity and on behalf of D & K
             Limited Partnership),

                                                    Plaintiff,
                                                                       Second Amended
                                  - against -                          Verified Complaint
             DALLA. GENGER, SAGI GENGER, LEAH
             FANG, D & K GP LLC, and TPR INVESTMENT
             ASSOCIATES, INC.,

                                                   Defendants.



                             Plaintiff Orly Genger in her individual capacity and on behalf of the Orly

             Genger 1993 Trust (both in its individual capacity and on behalf of D & K Limited

             Partnership), by her attorneys, Zeichner Ellman & Krause LLP, alleges, upon information

             and belief, for her Second Amended Verified Complaint against the defendants in this

             action as follows:


                                          NATURE OF THE ACTION


                            1.     As described below, Dalia and Sagi Genger, together with various

            business entities controlled by them and Leah Fang, engaged in a fraud and conspiracy

            designed to completely loot the Orly Genger 1993 Trust (the “Orly Trust”) of its value.

            The defendants’ various acts of self-dealing, material misrepresentations, and material

            omissions, in breach of their respective fiduciary duties and in violation of New York law,

            injured Orly Genger, the Orly Trust, and D & K Limited Partnership.
 SURROGATE’S COURT OF THE STATE OF NEW YORK
 COUNTY OF NEW YORK
 —.........--------- ------------------- ------- —-------------------------- X
 In the Matter of the Petition of Dalia Genger, as Trustee of
 the Orly Genger 1993 Trust, Created by Trust Agreement
 Dated December 13, 1993 between ARIE GENGER,
 as Grantor, and LAWRENCE M. SMALL and
 SASH A. SPENCER, as Trustees, to Turnover Property
 o the Orly Genger 1993 Trust.
 .................... .................................................................... —x
             DALIA GENGER,
             Trustee of the Orly Genger 1993 Trust,

                         Petitioner,                                                                       IndexNo. 2008-0017/E
                                                  -against-

            ORLY GENGER, ARIE GENGER, GLENCLOVA
            INVESTMENT COMPANY, TR INVESTORS, LLC                                                          AMENDED PETITION
            NEW TR EQUITY I, LLC, NEW TR EQUITY II, LLC,                                                   FOR TURNOVER OF
            TRANS-RESOURCES, INC.                                                                          TRUST PROPERTY
            ARNOLD BROSER,                                                                                 AND OTHER RELIEF
            DAVID BROSER, JOHN DOES. 1-20, and
            JANE DOES 1-20,

                         Respondents,
......................................................................... -............................X

TO THE SURROGATE’S COURT, COUNTY OF NEW YORK:

            It is respectfully alleged:

                                                                      The Parties

            1.         Petitioner, Dalia Genger, resides and is domiciled at 200 E. 65th Street, in the City

of New York, County of New York and State of New York.

           2.          Petitioner is the Trustee of the Orly Genger 1993 Trust (the “Orly Trust”).

           3.          Respondent Orly Genger (“Orly”) is the only non-contingent beneficiary of the

Orly Trust (in addition to her daughter Lily). The remaining respondents (“Respondents”) are

interested parties who wrongfully aided and abetted Orly in the misappropriation of Orly Trust

                                                                             -1-
